     Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 1 of 15




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                          CRIMINAL NO. 20-055

 VERSUS                                            SECTION “I”
                                                   JUDGE LANCE M. AFRICK
 JASON R. WILLIAMS
 NICOLE E. BURDETT                                 MAGISTRATE (4)
                                                   MAGISTRATE JUDGE ROBY

 UNITED STATES OF AMERICA                          CRIMINAL NO. 20-139

 VERSUS                                            SECTION “I”
                                                   JUDGE LANCE M. AFRICK
 NICOLE E. BURDETT
                                                   MAGISTRATE (3)
                                                   MAGISTRATE JUDGE DOUGLAS


                   DEFENSE’S FIRST SUPPLEMENTAL EXHIBIT LIST

       Jason R. Williams and Nicole E. Burdett submit the following supplemental list of exhibits

which may be introduced at the trial of the above matter. Defendants reserve their right to

supplement this list.

            #                          Description                             Bates

                 24/10 - Marriage license of Troy Waguespack and Nicole     G0110690
       1.        E. Burdett
                 09/21/10 - Separate property agreement between             G0110692
       2.        Waguespack and Burdett
       3.        02/13/20 - UNO Transcript for Nicole E. Burdett            G0021439
                 Loyola Transcript for Nicole E. Burdett                    G0087748 –
       4.                                                                   G0087750
                 04/26/10 - Nicole E. Burdett’s Special Warranty Deed for   G0111771 –
       5.        451 Hooper Dr.                                             G0111788
                 10/29/14 Email between Henry Timothy and Nicole            G0044881 –
       6.        Burdett; re 2013 taxes                                     G0044896
                 09/25/15 Email between Henry Timothy and Nicole            G0044897 –
            a.   Burdett; re Interim P&L Statement as of 08/30/15           G0044898
                 11/04/15 Email between Henry Timothy and Nicole            G0044900 –
            b.   Burdett; re Interim P&L Statement as of 09/30/15           G0044904


                                                                                       #100495705v1
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 2 of 15




       #                          Description                            Bates

            06/21/17 Email between Henry Timothy and Nicole            G0044905 –
       c.   Burdett; re 2016 Tax Return for NEB                        G0044918
            06/21/17 Email between Henry Timothy and Nicole            G0044919 –
       d.   Burdett; re 2016 Tax Return for Troy M Waguespack          G0044931
            05/16/18 Email between Henry Timothy and Nicole            G0044932 –
       e.   Burdett; re TMW Filing Payment Voucher                     G0044934
            01/19/17 Email between Henry Timothy and Nicole            G0044935 –
       f.   Burdett; re Taxes 2016 - 1099                              G0044936
            06/21/17 Email between Henry Timothy and Nicole            G0044937 –
       g.   Burdett; re 2016 Tax Return for Taylor C Waguespack        G0044940
            08/28/17 Email between Henry Timothy and Nicole            G0044941 –
       h.   Burdett; re 2015 Tax Return for R Hjortberg                G0044956
            01/05/18 Email between Henry Timothy and Nicole            G0044957 –
       i.   Burdett; re Taxes 2017 - 1099                              G0044958
            05/15/18 Email between Henry Timothy and Nicole            G0044959 –
       j.   Burdett; re JRW Filing Payment Voucher                     G0044960
            08/23/18 Email between Henry Timothy and Nicole            G0044963 –
       k.   Burdett; re NEB 2018 Estimated Tax                         G0044969
            12/15/18 Email between Henry Timothy and Nicole            G0044970 –
       l.   Burdett; re Troy’s LDR Notice of 2014 Filing               G0044973
            01/08/19 Email between Henry Timothy and Nicole            G0044974 –
       m.   Burdett; re 1099 for JRW and Associates 2018               G0044975
            Text messages Burdett with Bubby                           D_199 –
 7.                                                                    D_262
            July 9 Text messages Burdett with Bubby                    G0001206 –
       a.                                                              G0001209
            10/15/14 – Henry Timothy, CPA - Invoice (reads CPA)        G0044882 –
 8.         (various returns)                                          G0044975
            06/02/21 - Burdett Legal Consulting Articles of            G0110538 –
 9.         Organization                                               G0110554
            Examples from receipt books, years 2015, 2016, 2017,       G0001441 -
 10.        2018, 2019                                                 G0001523
            Example from TopDogLegal Cash Receipts 01/01/13 –          G0001524 –
 11.        12/31/19                                                   G0001557
            Jason Rogers Williams, Federal Criminal Defense,           G0009496
 12.        Website entry
            04/27/15 - Operating Agreement of Unglesby and             G0001210 -
 13.        Williams LLC                                               G0001221
            2014 – Burdett Legal Envelope (car sale/purchase,          G0081876 –
 14.        children school info, NEB health insurance info            G0081949
            2015 Taxes Envelope (Burdett Legal Consulting, Nicole      G0081950 –
 15.        Burdett, dependents)                                       G0082082
            2016 Envelope (Burdett Legal Consulting, Nicole Burdett,   G0082083 –
 16.        claim dependents, Chase Bank info)                         G0082200

                                          2
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 3 of 15




       #                          Description                           Bates

           2017 Taxes Envelope (Burdett Legal Consulting, claim       G0082201 –
 17.       dependents, Uber info)                                     G0082320
           2015 Tax Documents for Jason R. Williams                   G0001088 –
 18.                                                                  G0001201
           07/09/18 – Email from Westmorland to Burdett re 2015       G0001202 -
 19.       UW Taxes                                                   G0001205
 20.       2016 – Burdett’s Form 8879 - Authorization to e-file       G0084819
           09/03/20 – Electronically Filed Form 1040 of Troy          G0110316 -
           Waguespack for tax year 2013 - $57,053 in wages,           G0110332
 21.       $56,039 after deductions
           09/03/20 – Electronically Filed Form 1040 of Troy          G0110333 -
           Waguespack for tax year 2014 - $64,523 in wages,           G0110346
 22.       $65,442 AGI
           09/03/20 – Electronically Filed Form 1040 of Troy          G0110347 -
           Waguespack for tax year 2015 - $73,463 in wages,           G0110359
 23.       $74,763 AGI
           09/03/20 – Electronically Filed Form 1040 of Troy          G0110360 -
           Waguespack for tax year 2016 - $74,612 in wages,           G0110376
 24.       $73,313 AGI
           09/03/20 – Electronically Filed Form 1040 of Troy          G0110377 –
           Waguespack for tax year 2017 - $73,195 in wages,           G0110389
 25.       $73,314 AGI
           2012 - Troy Waguespack changed filing status from head     G0081843 –
 26.       of household to married filing separately                  G0081854
           2012 - Nicole Burdett changed filing status.               G0081857 –
 27.                                                                  G0081867
           02/02/18 - Deposit checks for $402,242.78                  G0013891 -
 28.                                                                  G0013897
           02/05/18 - Nicole’s fee share on 4 civil cases check for   G0013901
 29.       $177,635.00
           01/01/19 - Chase statement reflecting deposit of            G0002236 –
 30.       $1,404,176.99 (settlement)                                  G0002241
 31.       11/09/18 - Kevin Conley text to Nicole                      D_054
           Taxes for 2018 - Jason Williams’ Chase Account              G0056520 –
 32.       Statements                                                  G0055679
           02/19/19 – Email from Burdett to Hienz re JRW &             G0056704 –
 33.       Associates Balance Sheet for 2018 (with attachments)        G0056707
           02/19/19 - JRW & Associates P&L Statement for 2018          G0056706 –
 34.                                                                   G0056707
           02/12/19 – Email from Burdett to Hienz & Macaluso re        G0056713 –
           Taxes for 2018 (asked Jason to highlight his statements for G0056714
 35.       business purposes)



                                           3
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 4 of 15




       #                         Description                             Bates

           02/11/19 - Email from Burdett to Hienz & Macaluso re        G0056719 –
           Update PNL (asked Nicole to re-run the reports to exclude   G0056722
 36.       personal)
           Nicole provided Jason’s 2017 return to Hienz & Macaluso     G0056721
           (no attachments)                                            (no
 37.                                                                   attachments)
           02/11/19 – Email from Burdett to Hienz re Fwd: JRW tax G0056725 -
 38.       statement (re-ran the reports to exclude personal)          G0056728
           12/14/18 – Email from Kevin Conley to Hienz re Nicole’s G0056735 –
 39.       and Troy’s past returns                                     G0056737
           2018 Tax Return of Nicole E. Burdett                        G0082624 –
 40.                                                                   G0082734
           02/10/20 Memo of Activity w Nicole Burdett, ¶ 18            G0082317 -
 41.                                                                   G0082320
           Cash Receipts Top Dog Legal Entry; 01/01/13 – 12/31/17 G0001524 -
 42.                                                                   G0001551
           04/01/14 & 06/01/19 – Robert W. Hjortsberg’s                D_187 –
 43.       Contractual Employment Agreement                            D_188
           07/18/17 – Jason Roger Williams & Associates, LLC’s         G0013624
 44.       $3,000.00 cash deposit
           08/23/17 - Top Dog Legal Entry, $10,000.00 check            G0001550
 45.       received; Kieffer_Jerome_JRW
           01/09/18 - Top Dog Legal Entry $5,000.00 check              G0001552
 46.       received; Kieffer_Jerome_JRW
           08/10/17 – Cashier’s Check for $10,000 to Jason Williams G0008452
 47.       & Associates
 48.       08/11/17 – Remote Online Deposit for $10,000.00 -           G0002130
           01/10/18 – Substitute document for an electronic ticket for G0013862
 49.       $5,000.00
           Cash Receipts Top Dog Legal Entry, 01/01/18 – 12/31/18 G0001552 –
 50.                                                                   G0001555
           01/16/18 – Deposit slip for Cash, $3,000.00 (payment of     G0013864
 51.       firm’s 1/3 share)
           01/29/18 – Deposit slip for Cash, $2,500.00 (payment of G0013873
 52.       firm’s 1/3 share)
           IOLTA Trust Account w Chase; 04/18/15 – 02/28/18            G0001558 -
 53.                                                                   G0001655
           02/01/18 - Check No. 1077 for $10,500.00 from trust         G0093282
           account to operating account (memo: cont fee – Dwayna
 54.       Butler)
           02/01/18 - Check No. 1078 for $602.42 from trust account G0093283
 55.       to operating account (memo: cost – Dwayna Butler)



                                          4
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 5 of 15




       #                          Description                            Bates

           02/01/18 - Check No. 1079 for $16,253.54 from trust         G0014311
           account to Dwayna Butler (memo: final proceeds DOA
 56.       03/06/17)
           01/30/18 - ESIS Check, $27,355.96 re: Dwayna Butler,        G0014297
           Settlement of any and all claims obo Scottwood Realty
 57.       Company
 58.       02/01/18 – Dwayna Butler Disbursement agreement             D_036
 59.       Top Dog Legal Entry                                         G0001554
           01/02/19 - Lindsey Daniels Receipt for $2,000.00 re legal   G0001518
 60.       services, Zarius Brown
           04/16/18 – Closed - Lindsey Dykes File, 2702             D_007 -
 61.                                                                D_035
           Defendant Copy Discovery, Lindsey Daniels                D_037 -
 62.                                                                D_053
           Lynsey Daniels File, 2733                                D_057 -
 63.                                                                D_081
           11/09/18 - Conley’s text to Burdett                      G0106600 -
 64.                                                                G0106602
           11/13/18 – Email from Conley to Burdett re notes and     G0106668 -
 65.       information gathering document                           G0106670
           2016 Form 1040 - Jason R. Williams                       G0000151 –
 66.                                                                G0000182
           2016 Form 4868 - Application for Automatic Extension of G0000341
 67.       Time JRW
           12/31/13 - JRWA General Ledger                           G0000352 –
 68.                                                                G0000716
           2016 Form 1040 – Nicole E. Burdett                       G0081566 –
 69.                                                                G0081589
           2016 Form 4868 - Application for Automatic Extension of G0081628 –
 70.       Time NEB                                                 G0081630
           The Law Office of Robert W. Hjortsberg, L.L.C. Secretary D_001 –
 71.       of State                                                 D_002
           Unglesby & Williams, LLC Secretary of State              D_003 –
 72.                                                                D_004
           01/04/18 - Arthur Johnson Detention Hearing (R.          D_005 –
 73.       Hjortsberg, counsel) - D_005                             D_006
 74.       06/28/20 - Lindsey Daniels Fee – Theft                   D_055
 75.       06/28/20 - Lindsey Daniels Fee – Invasion                D-056
           IRS Form 8300 (Report of Cash Payments Over $10,000 N/A
 76.       Received in a Trade or Business) (Blank)
           10/20/19 – Email from Brooks Quality Painting and        G0125155
           Contracting to Lori H. Marable re Additional Summons
 77.       Information


                                          5
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 6 of 15




       #                          Description                           Bates

            B&B Response to GJS #57                                   G0044726 –
 78.                                                                  G0044880
            04/24/2019 - FBI report regarding Henry Timothy           G0009554 –
 79.                                                                  G0009556
            11/06/2019 – FBI report with FBI Financial Analyst J.     G0009699 –
 80.        Zeringue regarding Henry Timothy                          G0009705
            2017.03.28 - MOI of Henry Timothy                         G0021552 -
 81.                                                                  G0021556
            2014 - Preparer Information re H. Timothy                 G0109460 –
 82.                                                                  G0109461
            2015 - Preparer Information re H. Timothy                 G0109462 –
       a.                                                             G0109463
            2016 - Preparer Information re H. Timothy                 G0109464 –
       b.                                                             G0109465
 83.        10/15/20 - MOC re Henry Timothy                           G0109494
            IRS Report regarding Henry Timothy                        G0072872 –
 84.                                                                  G0072888
            Appendix A                                                G0072889 -
       a.                                                             G0072891
            Appendix B                                                G0072979 -
                                                                      G0073000
                                                                      &
                                                                      G0073007 –
       b.                                                             G0073032
            Henry Timothy Jr and Becky Timothy – Electronically       G0072892 –
 85.        Filed 2013 U.S. Individual Income Tax Return, Form 1040   G0072911
            Schedule C                                                G0072902 –
       a.                                                             G0072906
            Henry Timothy Jr and Becky Timothy - 2013 IRS             G0072912 –
 86.        Transcript of Account                                     G0072913
            Henry Timothy Jr and Becky Timothy – Electronically       G0072914 –
 87.        Filed 2014 U.S. Individual Income Tax Return, Form 1040   G0072934
            Schedule C                                                G0072925 –
       a.                                                             G0072929
            Henry Timothy Jr and Becky Timothy - 2014 IRS             G0072935 –
 88.        Transcript of Account                                     G0072936
            Henry Timothy Jr and Becky Timothy – Electronically       G0072937 –
 89.        Filed 2015 U.S. Individual Income Tax Return, Form 1040   G0072955
            Schedule C                                                G0072946 –
       a.                                                             G0072950
            Henry Timothy Jr and Becky Timothy - 2015 IRS             G0072956 –
 90.        Transcript of Account                                     G0072957
            Henry Timothy Jr and Becky Timothy – Electronically       G0072958 –
 91.        Filed 2016 U.S. Individual Income Tax Return, Form 1040   G0072976

                                           6
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 7 of 15




       #                         Description                         Bates

            Schedule C                                              G0072969 –
       a.                                                           G0072972
            Henry Timothy Jr and Becky Timothy - 2016 IRS           G0072977 –
 92.        Transcript of Account                                   G0072978
            Henry Timothy Jr and Becky Timothy – Electronically     G0072979 –
 93.        Filed 2017 U.S. Individual Income Tax Return, Form 1040 G0073000
            Schedule C                                              G0072988 –
       a.                                                           G0072994
            Preparer Information Report                             G0073001 –
 94.                                                                G0073006
            Henry Timothy Jr and Becky Timothy – Electronically     G0073007 –
 95.        Filed 2018 U.S. Individual Income Tax Return, Form 1040 G0073032
            Schedule C                                              G0073020 –
       a.                                                           G0073023
            Memorandum of Contact dated May 15, 2018                G0073033 –
 96.                                                                G0073034
                                                                    G0073035 –
            Memorandum of Interview dated May 22, 2019
 97.                                                                G0073038
                                                                    G0073039 –
            Memorandum of Contact dated July 18, 2018
 98.                                                                G0073040
            Memorandum of Contact dated August 13, 2019             G0073041 –
 99.                                                                G0073042
            Deposit Analysis -Capital One- Cajun Construction       G0072889 –
 100.       Business Account # Redacted 3822 -2013                  G0072891
            Deposit Analysis - Henry and Becky Timothy Bank         G0072889 –
 101.       Account # Redacted 9480 -2013                           G0072891
            Deposit Analysis - Capital One - Henry and Becky        G0072889 –
 102.       Timothy Account # Redacted 9480-2013                    G0072891
            Deposit Analysis - Home Bank - Henry and Becky          G0072889 –
 103.       Timothy- Account # Redacted 9802-2013                   G0072891
            Deposit Analysis - Iberia - Henry and Becky Timothy     G0072889 –
 104.       Acct# Redacted 8198 -2013                               G0072891
            Deposit Analysis - Henry and Becky Timothy- Account # G0072889 –
 105.       Redacted 9480- Capital One -2014                        G0072891
            Deposit Analysis -Capital One- Henry Timothy Account # G0072889 –
 106.       Redacted 5515 -2014                                     G0072891
            Deposit Analysis - Iberia - B&B Accounting Services,    G0072889 –
 107.       LLC - Account # Redacted 0290-2014                      G0072891
            Deposit Analysis - Henry and Becky Timothy- Account # G0072889 –
 108.       Redacted 3822- Capital One -2014                        G0072891
            Deposit Analysis - Iberia - Henry and Becky Timothy     G0072889 –
 109.       Acct # Redacted 8198 -2014                              G0072891
            Deposit Analysis - Iberia - B&B Accounting Services,    G0072889 –
 110.       LLC - Account # Redacted 0290-2015                      G0072891

                                        7
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 8 of 15




    #                        Description                           Bates

        Deposit Analysis - Iberia - B&B Accounting Services,     G0072889 –
 111.   LLC - Account # Redacted 0290-2016                       G0072891
        Deposit Analysis - Henry and Becky Timothy- Account #    G0072889 –
 112.   Redacted 3822- Capital One 2015-2016                     G0072891
        Henry Timothy & Becky Timothy - Personal Account -       G0073044
        Account Number # Redacted 8198 Signature Card dated      G0073045
        April 3, 1999. [These documents may only be used for
 113.   cross-examination if necessary]
        Henry Timothy & Becky Timothy - Personal Account -       G0073046 –
        Account Number # Redacted 8198 - Bank Statements         G0073189
        from January 2014 to April 2018. [These documents may
 114.   only be used for cross-examination if necessary]
        B&B Accounting Services LLC Account # Redacted           G0073459 -
        0290 - Signature Card dated January 28, 2014. [These     G0073460
        documents may only be used for cross-examination if
 115.   necessary]
        B&B Accounting Services LLC Account # Redacted           G0073461
        0290 - Bank Statements and Deposits from February 2014   G0075779
        to May 2018. [These documents may only be used for
 116.   cross-examination if necessary]
        Cajun Construction & Development LLC – Cajun             G0075780 –
        Construction & Development LLC # Redacted 3822 -         G0075783
        Signature Card. [These documents may only be used for
 117.   cross-examination if necessary]
        Cajun Construction & Development LLC – Cajun             G0075790 –
        Construction & Development LLC # Redacted 3822 –         G0075927
        Bank Statements. [These documents may only be used for
 118.   cross-examination if necessary]
        Cajun Construction & Development LLC – Cajun             G0075928 –
        Construction & Development LLC # Redacted 3822 –         G0075933
        Deposits. [These documents may only be used for cross-
 119.   examination if necessary]
        Henry Timothy - Individual Bank Account # Redacted       G0075934
        5515 – Signature Card. [These documents may only be
 120.   used for cross-examination if necessary]
        Henry Timothy - Individual Bank Account # Redacted       G0075935 -
        5515 Bank Statements. [These documents may only be       G0076074
 121.   used for cross-examination if necessary]
        Henry Timothy - Individual Bank Account # Redacted       G0076075 –
        5515 – Deposits. [These documents may only be used for   G0076172
 122.   cross-examination if necessary]
        Henry Timothy or Becky Timothy - Joint Account #         G0076173 –
        Redacted 9480 - Bank Statements. [These documents may    G0076246
 123.   only be used for cross-examination if necessary]

                                     8
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 9 of 15




    #                         Description                            Bates

        Henry Timothy or Becky Timothy - Joint Account #           G0076247 -
        Redacted 9480 – Deposits. [These documents may only        G0077792
 124.   be used for cross-examination if necessary]
        ERO Info and information for Pro Series. [These            G0077793
        documents may only be used for cross-examination if
 125.   necessary]
        Henry Timothy or Becky Timothy - Joint Account #           G0077794
        Redacted 9802 - Signature Card dated March 29, 2012.
        [These documents may only be used for cross-examination
 126.   if necessary]
        Henry Timothy or Becky Timothy - Joint Account #           G0077795 –
        Redacted 9802 - Bank Statements. [These documents may      G0077961
 127.   only be used for cross-examination if necessary]
        Henry Timothy or Becky Timothy - Joint Account #           G0077962 –
        Redacted 9802 – Deposits. [These documents may only        G0078053
 128.   be used for cross-examination if necessary]
        Jeanette Murphy, Custodian of Records A Insurance          G0078054 –
 129.   Depot; Accounting Transcript - A Insurance Depot           G0078056
        2019.09.26 – Letter to Lori Marable from Raeon Williams,   G0073043
        Berry's Reliable Resources regarding Record of Payments
 130.   - Berry Reliable
        David Brooks , President, Brooks Quality Painting and      G0078057
 131.   Contracting; Verification of Payments - Brooks Quality
        AJ & Tonya Brownlow, Owners Brownlow Plastering;           G0078058 –
 132.   Verification of Payments - Brownlow                        G0078061
        Dennis LaRock, CEO, Coasting Drilling and Utility          G0078062 –
 133.   Services; Verification of Payments - Coastal Drilling      G0078075
        Express Car Care, Lucky Express Car Care Services;         G0078076 –
 134.   Verification of Payments                                   G0078118
        Jeffery Hinojosa, Midship Marine; Verification of          G0078119
 135.   Payments - Midship Marine
 136.   Nocito Construction; Verification of Payments              G0078120
        Linda Moorman, Vegas Hardware; Verification of             G0078121
 137.   Payments - Vegas Hardware
        Donna Scoggins, Today's Village Coffee; Verification of    G0078122 -
 138.   Payments - Todays Village Coffee                           G0078123
 139.   Joe's Landing; Payments for Docking Boat                   G0078124
        Charlotte Garr, Compliance Officer Boomtown Casino;        G0078125 –
        Patron Rating Summary in Globo (additional documents to    G0078177
 140.   be produced)
        Lawrence Oggs, Crown Buick GMC; Purchase records for       G0078178 -
 141.   Buick                                                      G0078194
        Joint Motion for Stipulated Preliminary Injunction         G0021557 –
 142.                                                              G0021558

                                      9
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 10 of 15




    #                          Description                            Bates

         Timothy, Henry Proffer letter                             G0021561 –
 143.                                                              G0021562
         P01248539 Rtns Proc Year 2016-2013 Spreadsheet (part      G0078301
 144.    of Henry Timothy IRS report) [excel, 156 pages]
         Tax Due Spreadsheet (part of Henry Timothy IRS Report) G0078306 –
 145.                                                                G0078310
         Tax Returns prepared by Henry Timothy [Too large to         G0078473 –
         print. These documents may only be used for cross-          G0078932
 146.    examination if necessary]
         IRS Report regarding Henry Timothy with previously          G0118750 –
         provided Excel spreadsheets Bates numbered G0078195 – G0125317
         G0078419 (reproduction for purpose of capturing
         identification of exhibits) [Too large to print. These
         documents may only be used for cross-examination if
 147.    necessary]
         ECF 18 Plea Agreement regarding Robert Hjortsberg           G0109711 –
 148.                                                                G0109714
 149.    Form 8879 for 2016 — Robert Hjortsberg                      G0109808
         Form 1040 2013 — Robert Hjortsberg                          G0109809 -
 150.                                                                G0109825
         Form 1040 2014 — Robert Hjortsberg                          G0109826 -
 151.                                                                G0109849
         Form 1040 2015 — Robert Hjortsberg                          G0109850 -
 152.                                                                G0109867
         Form 1040 2016 — Robert Hjortsberg                          G0109868 -
 153.                                                                G0109885
         U.S. v. Robert Hjortsberg, Criminal No. 21-9; filed Bill of G0118441 –
         Information, Understanding of Maximum Penalty and           G0118454
         Constitutional Rights, Plea Agreement with Attachment A
         – SEALED – Cooperation Agreement, and Stipulated
 154.    Factual Basis for Guilty Plea
         U.S. v. Robert Hjortsberg, Criminal No. 21-9; Order         G0126164 –
 155.    signed 12/08/21 by Judge Africk                             G0126165
         Form 1040 2014 – John Bowker                                G0085914 –
 156.                                                                G0085924
         Form 1040 2015 – John Bowker                                G0085925 –
    b.                                                               G0085946
         Form 1040 2016 – John Bowker                                G0085947 –
    c.                                                               G0085964
         Form 1040 2017 – John Bowker                                G0085965 –
    d.                                                               G0085983
         Form 1040 2018 – John Bowker                                G0085984 –
    e.                                                               G0086010


                                         10
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 11 of 15




    #                          Description                        Bates

         Capital One acct ending in 9003 – Becky Timothy        G0125818 –
 157.                                                           G0126045
         2018.11.09 - Kevin Conley's text to NEB                G0106600-
 158.                                                           G0106602
         2018.11.13 - Kevin Conley's email to NEB               G0106668-
 159.                                                           G0106670
         2018.11.26 - NEB's email to Kevin Conley               G0106687-
 160.                                                           G0106690
 161.    2018.12.04 - NEB's text to Kevin Conley                G0106608
 162.    NEB's text to Kevin Conley                             G0106611
 163.    2018.12.07 - Kevin Conley's text to NEB                G0106613
 164.    Kevin Conley's text to NEB                             G0106616
         2018.12.12 - Doubleday Conley LLC Financial Plan       G0106198-
 165.    DATA REVIEW for Troy Waguespack and Nicole             G0106220
 166.    2018.12.14 - Kevin Conley's text to NEB                G0106617
         Kevin Conley's email to Robert Hienz                   G0106692-
 167.                                                           G0106694
 168.    2018.12.17 - Kevin Conley's text to NEB                G0106618
         2019.11.15 - NEB's email to Kevin Conley               G0106760-
 169.                                                           G0106763
 170.    2019.01.16 - Kevin Conley's text to NEB                G0106624
 171.    2019.02.14 - Kevin Conley's text to NEB                G0106632
         2019.02.18 - Doubleday Conley LLC Financial Plan       G0106257-
 172.    DRAFT for Troy Waguespack and NEB                      G0106279
         2019.12.09 - Doubleday Conley LLC Financial Plan for   G0106392-
 173.    Troy Waguespack and NEB                                G0106414
         2019.12.09 - Doubleday Conley LLC Financial Plan-ADJ   G0106437-
 174.    for Troy Waguespack and NEB                            G0106456
         2019.04.23 - Kevin Conley's email to NEB               G0106851-
 175.                                                           G0106853
 176.    XXXX.06.24 – Burdett Worksheet                         G0106591
 177.    2019.07.25 - Burdett/Troy Waguespack Worksheet         G0106590
 178.    2019.07.25 - NEB's text to Kevin Conley                G0106650
         Troy Waguespack and Nicole Worksheets                  G0106596-
 179.                                                           G0106598
 180.    2019.09.25 - NEB's text to Kevin Conley                G0106655
 181.    XXXX.01.23 - Kevin Conley's text to NEB                G0106666
         2016 - 1040 Instructions                               D_263 –
 182.                                                           D_368
 183.    Tulane University Course Description                   G0118470
         Jason Rogers Williams & Associates – Profit and Loss   G0000717 -
 184.    statement for 2013                                     G0000780



                                      11
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 12 of 15




    #                           Description                       Bates

         Williams documents provided to Timothy for 2013        G0000844 -
 185.                                                           G0000877
 186.    Henry Timothy Invoice for 2013 tax return              G000782
         2013 return filed by Henry J. Timothy                  G0000783 -
 187.                                                           G0000796
         Jason Rogers Williams & Associates – Profit and Loss   G0001020 -
 188.    statement for 2014                                     G0001077
         Williams documents provided to Timothy for 2014        G0000976 -
 189.                                                           G0001019
         Documents provided to Timothy for 2014                 G0001078 -
 190.                                                           G0001087
         2014 tax return prepared by Timothy                    G0000883 -
 191.                                                           G0000896
         2014 worksheets prepared by Timothy                    G0000907 -
 192.                                                           G0000912
         2014 e-file authorization                              G0000904 -
 193.                                                           G0000905
         Jason Rogers Williams & Associates – Profit and Loss   G0001126 -
 194.    statement for 2015                                     G0001180
         Williams documents provided to Timothy for 2015        G0001102 -
 195.                                                           G0001125
         Documents provided to Timothy                          G0001181 -
 196.                                                           G0001221
         2015 tax return prepared by Timothy                    G0001088 -
 197.                                                           G0001097
         2015 Interim Profit and Loss Statement                 G0000936 -
 198.                                                           G0000962
         Jason Rogers Williams & Associates – Profit and Loss   G0001241 -
 199.    statement for 2016                                     G0001292
         Williams documents provided to Timothy for 2016        G0001293 -
 200.                                                           G0001316
         Williams documents provided to Timothy for 2016        G0001239 -
 201.                                                           G0001240
         2016 tax return prepared by Timothy                    G0001222 -
 202.                                                           G0001234
         Jason Rogers Williams & Associates – Profit and Loss   G0001372 -
 203.    statement for 2017                                     G0001440
         Williams documents provided to Timothy for 2017        G0001317 -
                                                                G0001320,
                                                                G0001338 -
                                                                G0001360,
                                                                G0001363 -
 204.                                                           G0001371
 205.    2017 invoice                                           G0001361

                                       12
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 13 of 15




    #                          Description                            Bates

         2017 tax return prepared by Timothy                       G0001322 -
 206.                                                              G0001330
         Email from Brooks Quality Painting to Lori Marable dated G0078057
 207.    October 2, 2019
         Henry Timothy’s invoice to AJ and Tonya Brownlow          G0078058
 208.    dated October 28, 2013
 209.    Henry Timothy invoice dated February 8, 2013              G0078073
 210.    Henry Timothy invoice dated January 11, 2013              G0078072
         Henry Timothy invoice to Coastal Drilling dated March 8, G0078064
 211.    2012
         Henry Timothy invoice to Coastal Drilling dated March     G0078068
 212.    15, 2013
 213.    Henry Timothy invoice dated March 8, 2013                 G0078074
 214.    Henry Timothy invoice dated May 10, 2013                  G0078075
         Henry Timothy invoice to Express Car Care dated January G0078076
 215.    3, 2014
         Henry Timothy invoice to Express Car Care dated           G0078077
 216.    February 6, 2014
         Henry Timothy invoice to Express Car Care dated March G0078078
 217.    7, 2014
         Henry Timothy invoice to Express Car Care dated April 4, G0078079
 218.    2014
         Henry Timothy invoice to Express Car Care dated           G0078084
 219.    September 5, 2014
         Henry Timothy invoice to Express Car Care dated October G0078085
 220.    3, 2014
         Henry Timothy invoice to Express Car Care dated May 2, G0078080
 221.    2014
         Henry Timothy invoice to Express Car Care dated June 6, G0078081
 222.    2014
         Henry Timothy invoice to Express Car Care dated July 3, G0078082
 223.    2014
         Henry Timothy invoice to Express Car Care dated August G0078083
 224.    8, 2014
         Requests for Admissions to Henry J. Timothy               Williams_0
                                                                   13340-
 225.                                                              013346
         Henry J. Timothy Bill of Information, Plea agreement, and G0118703 -
 226.    Factual Basis                                             G0018717
 227.    Timothy IRS spreadsheet                                   G0078301
         2020.06.25 – Joint Motion for Entry of Stipulated         D_626      -
 228.    Preliminary Injunction                                    D_628
         2020.06.26 – Testimony of Timothy before Federal Grand D_629         -
 229.    Jury                                                      D_658

                                      13
Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 14 of 15




    #                          Description                      Bates

 230.    Timothy – Degree verification from UNO               D_659
         Timothy – UNO Transcript                             D_660     -
 231.                                                         D_662
         Timothy – UNO Transcript - Official                  D_663     -
 232.                                                         D_666
 233.    2020.08.14 - Society of Louisiana CPAs               D_667
 234.    Timothy – LinkedIn Profile                           D_668
         2020.09.16 – Treasure Chest subpoena response        D_669     -
 235.                                                         D_670
         2011.11.22 - Form 2553 re Burdett Legal Consulting   D_189     –
 236.                                                         D_192
 237.    2018.01.29 - TopDogLegal_Dwanya Butler_Payment       D_193
         2018.02.01 - SIGNED_Settlement                       D_194 –
 238.    Disbursement_Butler_Dwayna                           D_195
         2019.10.02 - Email from Brooks Quality Painting to   D_196
 239.    Marable
 240.    451 Hooper Dr._Google Earth image                    D_197
 241.    451 Hooper Dr._Front                                 D_198
         2022.06.15 - Boomtown Casino Subpoena Response       D_369 –
 242.    (Native – 2 excel spreadsheets)                      D_625




                                      14
    Case 2:20-cr-00055-LMA-KWR Document 354 Filed 06/30/22 Page 15 of 15




                                                     Respectfully submitted:

 /s/Michael W. Magner                             /s/ Ian Atkinson
 MICHAEL W. MAGNER (#1206)                        William P. Gibbens, 27225
 AVERY B. PARDEE (#31280)                         Ian L. Atkinson, 31605
 Jones Walker LLP                                 SCHONEKAS, EVANS, MCGOEY &
 201 St. Charles Ave., Suite 5100                 MCEACHIN, L.L.C.
 New Orleans, LA 70170                            909 Poydras Street, Suite 1600
 Telephone (504) 582-8316                         New Orleans, Louisiana 70112
 apardee@joneswalker.com                          Telephone: (504) 680-6050
 mmagner@joneswalker.com                          billy@semmlaw.com
                                                  ian@semmlaw.com
 Attorneys for Nicole E. Burdett
                                                  and

                                                  Lisa M. Wayne (Pro Hac Vice)
                                                  LAW OFFICES OF LISA M. WAYNE
                                                  1775 Sherman St., Ste. 1650
                                                  Denver, Colorado 80203
                                                  Telephone: (303) 589-9745
                                                  Lmonet20@me.com

                                                  Attorney for Jason R. Williams

                                CERTIFICATE OF SERVICE

       I certify that on June 30, 2022, I electronically filed the foregoing pleading with the Clerk
of Court using the CM/ECF System, which will send a copy of the pleading to all parties via email.

                                             /s/ Michael W. Magner




                                                15
